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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                           July 22, 2024
                                                                        Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

       ASCEND                      § CIVIL ACTION NO
       PERFORMANCE                 § 4:22-cv-03932
       MATERIALS                   §
       OPERATIONS LLC,             §
            Plaintiff,             §
                                   §
                                   §
           vs.                     § JUDGE CHARLES ESKRIDGE
                                   §
                                   §
       MASTEC POWER                §
       CORPORATION,                §
            Defendant.             §

                       OPINION AND ORDER
                    GRANTING MOTION TO DISMISS

           The motion by Defendant MasTec Power Corporation
       to dismiss the fraud claim by Plaintiff Ascend Performance
       Materials is granted. Dkt 56.
               1. Background
           The allegations by Ascend are as follows.
           Ascend and MasTec entered into a contract in
       December 2019 under which MasTec was to design,
       engineer, and construct an industrial facility for Ascend.
       Dkt 54 at ¶¶1, 6. The contract set out a schedule and
       required that substantial completion of the project occur no
       later than October 1, 2021, with final completion to occur
       150 days later. Id at ¶7.
           Ascend alleges that MasTec failed to perform under the
       contract in various ways. This includes allegation that
       MasTec (i) installed a defective water treatment system
       that will cause an excess of $75 million during the thirty-
       year life of the project, (ii) failed to achieve substantial
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       completion by the required date, causing delay of 81 days,
       and (iii) failed benchmark performance requirements for
       the facility. Dkt 54 at ¶¶10–24. Ascend also says that
       MasTec signed claim waivers as to any liens and causes of
       action related to the project, in exchange for Ascend’s
       monthly invoice payments. But, despite signing such
       waivers, MasTec filed a multi-million-dollar lien “just
       weeks after” and sued in Texas and Alabama state courts
       based on claims it had waived. Id at ¶¶25–32.
           Ascend filed this lawsuit in November 2022, asserting
       claims for breach of contract, negligence, fraud, negligent
       misrepresentation, and tortious interference. Dkt 1.
       MasTec moved to dismiss for failure to state a claim or for
       more definite statement. Dkt 9. Ascend filed a first
       amended complaint, mooting the motion. See Dkts 14 (first
       amended complaint) & 16 (withdrawal of motion to
       dismiss). MasTec again moved to dismiss and for more
       definite statement. Dkt 17. The motion for more definite
       statement was granted. Dkt 46. Ascend then filed a second
       amended complaint in July 2023. Dkt 54.
           Pending is a motion by MasTec to dismiss the fraud
       claim. Dkt 56. Ascend has since filed a third amended
       complaint. See Dkts 77 (order granting leave to amend)
       & 80 (third amended complaint). But the parties agree that
       the fraud claim is identical in the second and third
       amended complaints, meaning that the motion to dismiss
       applies with equal force to the fraud claim pleaded in the
       third amended complaint and may be addressed as such.
       See Dkt 68 at 17.
               2. Legal standard
           Rule 8(a)(2) of the Federal Rules of Civil Procedure
       requires a plaintiff’s complaint to provide “a short and
       plain statement of the claim showing that the pleader is
       entitled to relief.” Rule 12(b)(6) allows the defendant to
       seek dismissal if the plaintiff fails “to state a claim upon
       which relief can be granted.”
           Read together, the Supreme Court holds that Rule 8
       “does not require ‘detailed factual allegations,’ but it




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       demands more than an unadorned, the-defendant-
       unlawfully-harmed-me accusation.” Ashcroft v Iqbal,
       556 US 662, 678 (2009), quoting Bell Atlantic Corp v
       Twombly, 550 US 544, 555 (2007). To survive a Rule
       12(b)(6) motion to dismiss, the complaint “must provide the
       plaintiff’s grounds for entitlement to relief—including
       factual allegations that when assumed to be true ‘raise a
       right to relief above the speculative level.’” Cuvillier v
       Taylor, 503 F3d 397, 401 (5th Cir 2007), quoting Twombly,
       550 US at 555.
            A complaint must therefore contain “enough facts to
       state a claim to relief that is plausible on its face.”
       Twombly, 550 US at 570. “A claim has facial plausibility
       when the plaintiff pleads factual content that allows the
       court to draw the reasonable inference that the defendant
       is liable for the misconduct alleged.” Iqbal, 556 US at 678,
       citing Twombly, 550 US at 556. This standard on
       plausibility is “not akin to a ‘probability requirement,’ but
       it asks for more than a sheer possibility that a defendant
       has acted unlawfully.” Id at 678, quoting Twombly, 550 US
       at 557.
            For claims sounding in fraud, Rule 9(b) of the Federal
       Rules of Civil Procedure requires parties to “state with
       particularity the circumstances constituting fraud or
       mistake. Malice, intent, knowledge, and other conditions of
       a person’s mind may be alleged generally.” The Fifth
       Circuit holds, “Pleading fraud with particularity . . .
       requires ‘time, place, and contents of the false
       representations, as well as the identity of the person
       making the misrepresentation and what [that person]
       obtained thereby.’” Williams v WMX Technologies, Inc,
       112 F3d 175, 177 (5th Cir 1997) (citations omitted).
            Review on motion to dismiss under Rule 12(b)(6) is
       constrained. The reviewing court must accept the well-
       pleaded facts as true and view them in the light most
       favorable to the plaintiff. Walker v Beaumont Independent
       School District, 938 F3d 724, 735 (5th Cir 2019) (citation
       omitted). But courts don’t accept as true what are simply
       conclusory allegations, unwarranted factual inferences, or




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       legal conclusions. See Gentiello v Rege, 627 F3d 540, 544
       (5th Cir 2010). The court must also generally limit itself to
       the contents of the pleadings and its attachments. Brand
       Coupon Network LLC v Catalina Marketing Corp, 748 F3d
       631, 635 (5th Cir 2014) (citation omitted).
                3. Analysis
            MasTec argues that the fraud claim should be
       dismissed because Ascend fails to adequately state a claim.
       This is so, it says, because (i) Ascend’s claims are barred by
       the economic loss rule, (ii) Ascend hasn’t alleged that it was
       induced to take action beyond what was required under the
       contract, (iii) Ascend hasn’t alleged that MasTec had no
       intent to perform, and (iv) the alleged misrepresentations
       aren’t actionable. See Dkt 56 at 9–10. Only the third
       argument will be addressed, with the motion granted on
       the basis.
            Under Texas law, a promise of future performance is
       actionable fraud “if the promise was made with no
       intention of performing at the time it was made.” Formosa
       Plastics Corp USA v Presidio Engineers and Contractors,
       960 SW2d 41, 48 (Tex 1998). With citation to controlling
       precedent by the Texas Supreme Court, the Fifth Circuit
       holds that “mere failure to perform contractual obligations
       as promised does not constitute fraud but is instead breach
       of contract. . . . To be actionable as fraudulent inducement,
       a breach must be coupled with a showing that the promisor
       never intended to perform under the contract.” Kevin M.
       Ehringer Enterprises, Inc v McData Services Corp, 646 F3d
       321, 325 (5th Cir 2011), citing Spoljaric v Percival Tours,
       Inc, 708 SW2d 432, 434–35 (Tex 1986), and Tony Gullo
       Motors I, LP v Chapa, 212 SW3d 299, 306 (Tex 2006).
            “Failure to perform, standing alone, is no evidence of
       the promisor’s intent not to perform when the promise was
       made, but a circumstance to be considered with other facts
       to establish intent.” Bank One, Texas, NA v Stewart,
       967 SW2d 419, 444 (Tex App—Houston [14th Dist] 1998,
       pet denied). Evidence of partial performance can negate
       assertion that there was no intention to perform. IKON
       Office Solutions, Inc v Eifert, 125 SW3d 113, 124 (Tex



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       App—Houston [14th Dist] 2003, pet denied); see also Bank
       One, 967 SW2d at 445–46 (finding no evidence to support
       that defendants lacked intent to perform because they had
       initially performed the contract); Shandong Yinguang
       Chemical Industries Joint Stock Co, Ltd v Potter, 607 F3d
       1029, 1034–35 (5th Cir 2010) (noting partial performance
       points away from inference that defendant did not intend
       to perform). Such evidence of partial performance doesn’t
       necessarily preclude a fraud claim. See Mobius Risk Group,
       LLC v Global Clean Energy Holdings, Inc, 2012 WL
       527939, *5 (SD Tex). But while a showing of “‘[s]light
       circumstantial evidence’ of fraud” may be sufficient “to
       support a finding of fraudulent intent” where there is
       partial performance, the circumstantial evidence as a
       whole must “transcend mere suspicion” that the defendant
       lacked intent. Shandong Yinguang, 607 F3d at 1033–35,
       quoting Spoljaric, 708 SW2d at 435 and IKON Office
       Solutions, 125 SW3d at 124.
            Ascend acknowledges that MasTec partially performed
       its obligations under the contract. Dkts 54 at ¶56 & 62
       at 22. For example, subheading (B) of the second amended
       complaint details “MasTec’s (inadequate) performance” of
       the contract. Dkt 54 at 6. The complaint also alleges that
       MasTec did, in fact, “design[ ] and install[ ] the water
       treatment system” as part of its scope of work under the
       contract. Id at ¶10. And it admits that MasTec completed
       “the final steam connection” such that the contracted-for
       facility “was capable of delivering steam and electricity,”
       allowing final commissioning and performance testing to
       begin. Id at ¶17. True, Ascend alleges that the facility
       didn’t fully meet the performance requirements in the
       contract. But Ascend doesn’t contest that there was at least
       partial performance by MasTec. See id at ¶24
       (acknowledging that “actual performance” of the facility
       has occurred). As such, these allegations of partial
       performance negate any inference that MasTec didn’t
       intend to perform.
            To be sure, there are some allegations that Ascend
       argues are sufficient to support an inference that MasTec




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       didn’t intend to perform. See Dkt 54 at 22. For example, it
       alleges (i) “MasTec was financially motivated to trick
       Ascend into relying on its schedule representations,” and
       (ii) “MasTec knew it had no intention of waiving its lien
       and causes of action against Ascend.” Id at ¶¶44, 49. But
       these both simply speculate about intent. See US ex rel
       Thompson v Columbia/HCA Healthcare Corp, 125 F3d 899
       (5th Cir 1997) (allegations amounting to nothing more than
       speculation fail to satisfy Rule 9(b)). Such allegations are
       also entirely conclusory and, as such, aren’t sufficient to
       overcome the conceded fact that MasTec did partially
       perform under the contract. See Shandong Yinguang,
       607 F3d at 1034 (finding conclusory statement that
       defendant “funneled money” insufficient to allege no intent
       to perform); People’s Capital and Leasing Corp v Byrd
       Rankin, LLC, 2015 WL 2451186 (ND Tex) (finding
       conclusory allegations of intent insufficient to state claim
       for fraudulent inducement); cf West African Ventures
       Limited v Fleming, 634 F Supp 391, 401 (SD Tex 2022)
       (finding plaintiffs created reasonable inference of no intent
       to perform where they alleged that defendants knew that
       they were “grossly undercapitalized” at the time they
       promised to pay). Were the rule otherwise, mere
       speculation and conclusory allegations about intent would
       always overcome what is a very clear bar under Texas law
       as to fraud claims alleged in a contractual context based on
       a promise of future performance, especially where there is
       evidence of partial performance.
            No other facts or details are alleged to create an
       inference that MasTec didn’t intend to perform under the
       contract when it was made. Given the heightened pleading
       requirements of Rule 9(b), the lack of any details that
       corroborate allegation of a fraudulent scheme, and the fact
       that MasTec initially performed its obligations under the
       contract, Ascend’s allegations as a whole don’t plausibly
       plead an intention not to perform. See Shandong
       Yinguang, 607 F3d at 1034–35.




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           As such, Ascend hasn’t sufficiently stated a claim for
       fraud under Texas law. The motion to dismiss will be
       granted on this basis.
                4. Potential for repleading
           Rule 15(a)(2) of the Federal Rules of Civil Procedure
       states that a district court “should freely give leave [to
       amend] when justice so requires.” The Fifth Circuit holds
       that this “evinces a bias in favor of granting leave to
       amend.” Carroll v Fort James Corp, 470 F3d 1171, 1175
       (5th Cir 2006) (quotation marks and citation omitted). But
       the decision whether to grant leave to amend is within the
       sound discretion of the district court. Pervasive Software
       Inc v Lexware GmbH & Co KG, 688 F3d 214, 232 (5th Cir
       2012). It “may be denied when it would cause undue delay,
       be the result of bad faith, represent the repeated failure to
       cure previous amendments, create undue prejudice, or be
       futile.” Morgan v Chapman, 969 F3d 238, 248 (5th Cir
       2020).
           When Ascend was ordered to provide a more definite
       statement, it was admonished that “this will likely be its
       last and final chance to amend its complaint.” Dkt 46. And,
       as determined above, it failed to cure previous amendment
       by making no specific and concrete allegations. As such,
       leave to replead to correct the above-stated deficiencies is
       denied as futile and due to repeated failure to cure previous
       amendments.
                5. Conclusion
           The motion by Defendant MasTec Power Corporation
       to dismiss is GRANTED. Dkt 56.
           The claim by Plaintiff Ascend Performance Materials
       Operations LLC for fraud is DISMISSED WITH PREJUDICE.




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          SO ORDERED.
          Signed on July 22, 2024, at Houston, Texas.



                             __________________________
                             Hon. Charles Eskridge
                             United States District Judge




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